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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                  EASTERN DISTRICT

STATE OF MISSOURI, et al.,                  )
                                            )
        Plaintiffs,                         )
                                            )
    v.                                      )                Case No. 4:24-cv-00520-JAR
                                            )
DONALD J. TRUMP, in his official capacity )
as President of the United States, LINDA    )
McMAHON, in her official capacity as        )
Secretary of Education, 1 and UNITED STATES )
DEPARTMENT OF EDUCATION,                    )
                                            )
        Defendants.                         )

                                             ORDER

        On June 24, 2024, the Court granted in part and denied in part Plaintiffs’ motion to stay

or, in the alternative, a preliminary injunction (ECF No. 25), and the Court issued a preliminary

injunction preventing Defendants from any further loan forgiveness under the Final Rule’s 2

SAVE plan until the Court can decide the issue on the merits (ECF No. 26). On June 27, 2024,

Defendants filed an interlocutory appeal (ECF No. 27), and on June 28, 2024, Plaintiffs filed a

cross appeal (ECF No. 42).

        On February 18, 2025, the Eight Circuit Court of Appeals issued its judgment affirming

the Court’s preliminary injunction and remanding the case for further proceedings “with

instructions to modify the preliminary injunction to enjoin the entire SAVE Rule as well as the




1
        President Donald J. Trump and Secretary of Education Linda McMahon are substituted as
parties in this matter under Fed. R. Civ. P. 25(d).
2
       88 Fed. Reg. 43,820 “Improving Income Driven Repayment for the William D. Ford
Federal Direct Loan Program and the Federal Family Education Loan (FFEL) Program.”
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hybrid rule” in accordance with the Circuit Court’s opinion issued that same day. ECF Nos. 65

and 66. On April 11, 2025, the mandate issued. ECF No. 68.

       Accordingly,

       IT IS HEREBY ORDERED that Defendants are preliminarily enjoined from

implementing the Final Rule’s SAVE plan and the hybrid rule that was implemented following

the Court’s previous preliminary injunction until such time as this Court can decide the case on

the merits.

       IT IS FURTHER ORDERED that, on or before May 5, 2025, the parties shall file a

joint status report advising the Court of the outstanding matters in this case and shall submit a

joint proposed scheduling plan for the remainder of this litigation.

       Dated this 14th day of April, 2025.


                                                  ________________________________
                                                  JOHN A. ROSS
                                                  UNITED STATES DISTRICT JUDGE




                                                 2
